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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: PIONEER HEALTH SERVICES, INC., et al. 1                                    NO. 16-01119-NPO
JOINTLY ADMINISTERED DEBTORS                                                           CHAPTER 11

               MOTION OF COPELAND, COOK, TAYLOR & BUSH, P.A. FOR
                  LEAVE TO WITHDRAW AS COUNSEL OF RECORD
                    FOR CAPITAL ONE NATIONAL ASSOCIATION

        Copeland, Cook, Taylor & Bush, P.A. and its aorneys (collectively, “CCTB”) requests

leave to withdraw as counsel of record for Capital One National Association (“Capital One”) in

the above-captioned consolidated bankruptcy cases (the “Bankruptcy Cases”). Capital One has

been and will continue to be represented in these Bankruptcy Cases by McGuireWoods LLP,

and Capital One has no objection to CCTB’s request to withdraw as its counsel of record.

        WHEREFORE, CCTB respectfully requests that this Court enter an Order similar to

the proposed Agreed Order submied contemporaneously herewith granting CCTB leave to

withdraw as counsel of record for Capital One. CCTB further prays for general relief.

        THIS the 26th day of September, 2018.

                                                Respectfully submied,

                                                COPELAND, COOK, TAYLOR & BUSH, P.A.

                                                /s/ William H. Leech
                                                William H. Leech, MSB No. 1175
                                                Copeland, Cook, Taylor & Bush, P.A.
                                                P.O. Box 6020
                                                Ridgeland, MS 39158
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                                                Facsimile: (601) 856-7626
                                                bleech@cctb.com

1Jointly administered with In re Pioneer Health Services of Patrick County, Inc., No. 16-01220-NPO; In re
Pioneer Health Service of Newton County, LLC, No. 16-01121-NPO; In re Pioneer Health Services of Stokes
County, Inc., No. 16-01122-NPO; In re Pioneer Health Services of Choctaw County, LLC, No. 16-01123-
NPO; In re Pioneer Health Services of Oneida, LLC, No. 16-01124-NPO; In re Pioneer Health Services of
Monroe County, Inc., No. 16-01125-NPO; In re Pioneer Health Services of Early County, LLC, No. 16-01243-
NPO; and In re Medicomp, Inc., No. 16-01126-NPO.
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                                       CERTIFICATE OF SERVICE

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Alison Elko Franklin;         Darryl Sco Laddin;                James W. O’Mara;            Marcus M. Wilson; and
Stephen E. Gardner;           Hanna Lahr;                        Evan N. Parro;             e Oﬃce of the US Trustee


         Service provided via First-Class Mail, postage prepaid:

         Capital One, National Association
         ATTN: Scott Koerner
         299 Park Avenue
         New York, NY 10171

         THIS the 26th day of September, 2018.

                                                             /s/ William H. Leech
                                                             Of Counsel




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